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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION
                           Case No. 5:23-cv-00342-JSM-PRL

DELROY A. CHAMBERS, JR.,

          Plaintiff,

v.

COZY HOMES REAL ESTATE, INC., doing business as
EXIT REALTY CHAMPIONS,

      Defendant.
_________________________________________________/

                           NOTICE OF RELATED ACTION

      Under Local Rule 1.07(c), all counsel of record and unrepresented parties
must promptly inform the Court and other parties of the existence of any similar
or successive cases pending before any court or administrative agency.1 But, for
removal cases, the parties need not identify the original state-court proceeding in
this Notice.

          I certify that the above-captioned case:

      ☐      IS related to civil or criminal case(s) previously filed in this Court, or
             any other federal or state court, or administrative agency as indicated
             below:




1
 All counsel and unrepresented parties have a continuing duty to promptly inform the Court and
parties of any additional or new similar or successive cases by filing an Amended Notice of
Pendency of Related Actions.
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   X      IS NOT related to any pending or closed civil or criminal case filed with
          this Court, or any other federal or state court, or administrative agency.


Dated:         6/24/2023

                                                Respectfully submitted,

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                                                Attorneys for the Plaintiff

                                                By:   s/ Joshua A. Glickman         .
                                                       Joshua A. Glickman, Esq.



                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing was electronically filed with the

Clerk of the Court using the CM/ECF system, on this 24th day of June 2023, which

will send a notice of electronic filing to all attorneys of record.


                                                By:   s/ Joshua A. Glickman
                                                       Joshua A. Glickman, Esq.

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